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                                                 Thursday, 26 March, 2020 01:44:49 PM
             IN THE UNITED STATES DISTRICT COURT FOR THE Clerk, U.S. District Court, ILCD
           CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

JACQUELINE FARRIS,                              )
                                                )
                    Plaintiff,                  )
                                                )
                    v.                          )        Case No. 17-cv-3279-SEM-TSH
                                                )
ERIK KOHLRUS, et al.,                           )        Hon. Sue E. Myerscough
                                                )
                    Defendants.                 )        Hon. Thomas Schanzle-Haskins

        DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF
                         DISCOVERY

      Defendant Erik Kohlrus, by his attorneys, Vig Law, P.C., and Defendants

Christine Brannon, Clara Charron, Norine Ashley, Lisa, Johnson, Patrick Keane,

Mike Funk, Felipe Zavala, Alan Pasley, Alex Adams, Jeff Gabor, Trina Snyder,

Angela Locke, and the IDOC, by their attorneys, the Office of the Illinois Attorney

General, respectfully request that this Court grant an extension of time to complete

fact discovery in this case, up to and including July 1, 2020. In support of their

request, the Defendants state as follows:

      1.      The parties have worked diligently to complete discovery, including

depositions of Defendants and witnesses identified by the parties. The parties have

also exchanged multiple rounds of written discovery requests and responses, and

have worked collaboratively to reach compromise on responses and production of

responsive documents.

      2.      The parties have also worked diligently to complete ESI production by

the IDOC.

      3.      The parties have also worked collaboratively to narrow the number of

parties and claims at issue in the case.
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        4.     On March 13, 2020 a national emergency was declared regarding the

 COVID-19 pandemic.

        5.      On March 20, 2020 Governor JB Pritzker declared the State of Illinois

 to be a disaster area and ordered a stay at home order for the residents of the State

 of Illinois.

        6.      That the parties still need to take the deposition of the Plaintiff in this

 matter as well as a few remaining department Defendants and third party

 witnesses.

        7. In sum, the parties have worked diligently to complete discovery on this

 case, the COVID-19 pandemic and resulting social distancing orders could not

 have reasonably been anticipated by the parties, and good cause exists to grant

 the parties a final extension to complete the written and oral discovery necessary

 to try the case. Accordingly, the parties propose the following schedule:

        −       Deadline for fact discovery: 7/1/2020

        −       Deadline for Plaintiff’s Rule 26(a)(2) disclosures: 8/3/2020

        −       Deadline for Defendants’ Rule 26(a)(2) disclosures: 9/4/2020

        −       Deadline for Plaintiff’s rebuttal Rule 26(a)(2) disclosures: 10/9/2020

        −       Dispositive motion deadline: 11/13/2020

       8. Defendants’ counsel conferred with Plaintiff’s counsel, and Plaintiff does not oppose

this motion.




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      WHEREFORE, Defendants respectfully request that this Court grant an

anticipated final extension of time to complete fact discovery in this case, up to and

including July 1, 2020, enter the proposed scheduling order, and granting any

other such and further relief as this Court deems reasonable and just.

                                                Respectfully submitted,



                                               /s/Sara M. Vig

                                               Attorney for Defendant Kohlrus




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                                        /s/ Jeremy Tyrrell (with consent)
                                        Jeremy Tyrrell
                                        Attorney for IDOC Defendants

Jeremy Tyrrell

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                              CERTIFICATE OF SERVICE

I hereby certify that on March 26, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which effected service on all counsel of

record.




                                         By:    /s/ Sara M. Mayo Vig_______________
                                                 Attorney for Defendant



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